` 46
Case 2'04-cr-20472-.]DB Document 33 Fl|ed 04/26/05 PagelotZ Page|D

 

 

iN THE uNrTEo sTATEs oisrnicr counT ~ ;¥’f
Foe THE wEsTEnN oisTnicT oi= TENNEssEE _ r_ l
wEernN oivlsror\i ‘Jb ~ w ll
'"t;. 1143 ”
uNiTEo sTATEs oi= AMEnicA, en .;;,F wl L,.LW.,H;.§

Plaintiff

VS.
CFi. NO. 04-20472-5

JOHN WAYNE GLENN,

Defendant.

ORDER ON CONTINUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

This cause came on for a report date on April 25, 2005. At that time, counsel forthe
defendant requested a continuance of the May 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a@po_rt
date of Tuesdag, N|av 31. 2005. at 9:30 a.m., in Courtroom 1, 11th Floor of the Federa|
Bui|ding, |Vlemphis, TN.

The period from l\/lay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a s§eedy trial.

n' is so onoEnEo mrs 2¢- day or prn, 2005.

 

. o` rEL enEEN
NiT o sTATEs oisrnicr .iuoci-:

Th`:s doc-c frient entered -:)n the docket she--.‘ in compliance
d
with H.lle 55 and/or 32033 FRCrP on §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
ease 2:04-CR-20472 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

